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                            EXHIBIT A
                          Proposed Order
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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION


    In re:                                                            Chapter 11

    SORRENTO THERAPEUTICS, INC., et al.,1                             Case No. 23-90085 (CML)

                                                                      (Jointly Administered)
                           Debtors.


               ORDER AUTHORIZING AND DIRECTING DISCOVERY
           FROM THE DEBTORS AND ELIZABETH C. FREEMAN PURSUANT
        TO RULE 2004 OF THE FEDERAL RULES OF BANKRUPTCY PROCEDURE

             Upon the motion (the “Motion”)2 of the Official Committee of Equity Securities Holders

(the “Equity Committee”) of Sorrento Therapeutics, Inc. (together with its debtor-affiliate Scintilla

Pharmaceutics, Inc., the “Debtors”) for entry of an order (this “Order”) pursuant to Rule 2004 of

the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) authorizing and compelling

discovery from the Debtors and Elizabeth C. Freeman; and this Court having jurisdiction over this

matter pursuant to 28 U.S.C. §§ 157 and 1334; and this Court having found that this is a core

proceeding pursuant to 28 U.S.C. § 157(b); and this Court having found that it may enter a final

order consistent with Article III of the United States Constitution; and this Court having found that

venue of this proceeding and the Motion in this district is proper pursuant to 28 U.S.C. §§ 1408

and 1409; and this Court having found that the notice of the Motion and opportunity for a hearing

on the Motion were appropriate under the circumstances and no other notice need be provided;

and this Court having reviewed the Motion; and this Court having determined that the legal and


1
      The Debtor entities in these Chapter 11 Cases, along with the last four digits of each Debtor entity’s federal tax
      identification number, are: Sorrento Therapeutics, Inc. (4842) and Scintilla Pharmaceuticals, Inc. (7956). The
      Debtors’ service address is: 4955 Directors Place, San Diego, CA 92121.
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      Capitalized terms used but not otherwise defined herein have the meaning ascribed to them in the Motion.
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factual bases set forth in the Motion establish just cause for the relief granted herein; and upon all

of the proceedings had before this Court; and after due deliberation and sufficient cause appearing

therefor, it is HEREBY ORDERED THAT:

       1.      The relief requested in the Motion is granted to the extent set forth herein.

       2.      The Debtors are directed to produce to the Equity Committee documents and

communications responsive to the Document Requests attached as Exhibit C to the Motion.

       3.      Elizabeth C. Freeman is directed to produce to the Equity Committee documents

and communications responsive to the Document Requests attached as Exhibit D to the Motion.

       4.      This Court retains jurisdiction to resolve all matters arising under or related to this

Order, and to interpret, implement, and enforce the provisions of this Order.



Dated: ___________, 2023

                                                   ___________________________________
                                                   HON. CHRISTOPHER LOPEZ
                                                   UNITED STATES BANKRUPTCY JUDGE




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